         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                        CRIMINAL NO. 3:97CR22




UNITED STATES OF AMERICA                )
                                        )
                                        )
           Vs.                          )           ORDER
                                        )
                                        )
IVEY WALKER                             )
                                        )


     THIS MATTER is before the Court pursuant to remand from the

Fourth Circuit Court of Appeals for reimposition of Defendant’s sentence of

life imprisonment as to Count Four of the indictment. See United States v.

Ivey Walker, 2008 WL 4772192, at *4 (4 th Cir. 2008).

     Pursuant to the Fourth Circuit’s vacatur and remand,

     IT IS, THEREFORE, ORDERED that the Clerk of Court amend the

Court’s Amended Judgment filed August 17, 2006, as to the Defendant’s

term of imprisonment as to Count Four as follows:

     The Defendant is hereby committed to the custody of the
     United States Bureau of Prisons to be imprisoned for a term of
     life as to Ct. Four and a term of 240 months imprisonment on
     Ct. 5, to be served concurrently.




     Case 3:97-cr-00022-MOC     Document 516     Filed 12/30/08   Page 1 of 2
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      IT IS FURTHER ORDERED that the remaining terms and conditions

of the Court’s Amended Judgment filed August 17, 2006, are unchanged

and remain in full force and effect.

                                       Signed: December 30, 2008




     Case 3:97-cr-00022-MOC    Document 516     Filed 12/30/08     Page 2 of 2
